         Case 2:15-cv-02133-JHE Document 14 Filed 03/14/16 Page 1 of 1                              FILED
                                                                                           2016 Mar-14 AM 09:33
                                                                                           U.S. DISTRICT COURT
                                                                                               N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

STEVE JOHNSON,                                  )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )   Case No.:    2:15-cv-02133-JHE
                                                )
MIDLAND FUNDING, LLC, et al.,                   )
                                                )
       Defendants.                              )

                                 ORDER DISMISSING CASE

       A stipulation of dismissal, signed by all parties who have appeared, having been filed in

this action, it is hereby ORDERED, ADJUDGED, and DECREED that, pursuant to Fed. R.

Civ. P. 41(a)(1)(A)(ii), this case is DISMISSED, with prejudice, with the parties to bear their

own fees, costs, and expenses.

       DONE this 14th day of March 2016.




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                                            JOHN H. ENGLAND, III
                                            UNITED STATES MAGISTRATE JUDGE
